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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

JAKUB MADEJ                                   §            Civil Action No. 3:20cv133 (JCH)
                             Plaintiff,       §
               vs.                            §            JURY TRIAL DEMANDED
                                              §
YALE UNIVERSITY et al.,                       §            JANUARY 3, 2021
                             Defendants.      §            Scheduled for: January 21, 2021

           NOTICE OF VIDEOTAPED DEPOSITION OF MARK SCHENKER

TO:    CLERK OF THE COURT
       COUNSEL FOR DEFENDANTS
       Patrick M. Noonan, Esq.
       741 Boston Post Road, Suite 306
       Guilford, CT 06437
       Email: PNoonan@ddnctlaw.com


       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 30 and LR 30, Plaintiff
Jakub Madej will take the deposition of Mark Schenker upon oral examination, to be recorded by
video and audio. The deposition will be held remotely over Zoom. The deposition shall
commence on January 21, 2020, at 9:30 am Eastern Prevailing Time. If necessary, the deposition
will be adjourned until completed.



                         TO APPEAR BY VIDEO CONFERENCE,
             PARTIES SHOULD USE THE FOLLOWING INFORMATION:
               JOIN ZOOM HEARING:
                       Meeting ID:                   ; Password:



Dated: January 3, 2021.                           Respectfully submitted,
                                                  By: /s/ Jakub Madej
                                                     Jakub J. Madej
                                                     415 Boston Post Rd Ste 3-1102
                                                     Milford, CT 06460
                                                     T: (203) 928-8486
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                                         F: (203) 902-0070
                                         E: j.madej@lawsheet.com


cc:   Mikolaj T. Noga
      NOTARY REPORTING MORAN
      100 Pearl St
      Hartford, CT 06103
      (203) 493-4624
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                                   CERTIFICATE OF SERVICE
          I, Jakub Madej, certify that on January 3, 2021, I sent a true copy of the foregoing Notice
of Deposition with all attachments and exhibits via electronic mail to the following attorneys of
record:

          Patrick M. Noonan, Esq.
          DONAHUE, DURHAM & NOONAN PC
          741 Boston Post Road, Suite 306
          Guilford, CT 06437
          Telephone: (203) 458-9168
          Fax: (203) 458-4424
          Email: PNoonan@ddnctlaw.com

          I further certify that the Notice of Deposition was uploaded to the file sharing platform
ShareFile, created by the defendants following the Court’s order dated October 26, 2020.


                                                                /s/ Jakub Madej
